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  7   Attorneys for Defendant Walgreen Co.
 8
                                   UNITED STATES DISTRICT COURT

1(1                                  FOR THE DISTRICT OF NEVADA

1 I   SHANNON T. BRANSON,                                   Case No.: 3:15-cv-00203-LRH-WGC
12                           Plaintiff,
13                                                                 STIPULATION AND ORDER TO
      vs.                                                           DISMISS WITH PREJUDICE
14
      WALGREEN CO.,
15
                             Defendant.
16
17
               IT IS HEREBY STIPULATED by and between Plaintiff Paul Shannon T. Branson
18
19      ("Branson") and Defendant Walgreen Co., ("Walgreen" or "Defendant"), by and through their

20      respective counsel, that all claims Branson had or may have had against Walgreen, that are

21      contained in, reasonably related to, or could have been brought in the above-captioned action,

        are hereby dismissed, with prejudice, in their entirety.
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         Case 3:15-cv-00203-LRH-WGC Document 62
                                             61 Filed 08/09/16
                                                      08/04/16 Page 2 of 2
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           IT IS FURTHER STIPULATED that each party shall bear its own fees and costs.
 2
           IT IS SO STIPULATED:

       Dated this       th day of August, 2016      Dated this       th day of August, 2016
 4
       LAW OFFICE OF TERRI KEYSER-COOPER            OGLETREE, DEAKINS, NASH, SMOAK
 5                                                   & STEWART, P.C.
 6

 7                                                    /s/ Molly M. Rezac
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10
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11     227 Clay St.
       Reno, NV 89501
12     Attorneys for Plaintiff

13
                                          ORDER
14

15     IT IS SO ORDERED.

16     DATED this 8th day of August, 2016.
                                                  UNITEDR.STATES
                                                 LARRY     HICKS DISTRICT JUDGE
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                                                 UNITED STATES DISTRICT JUDGE
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